Case 2:18-cv-10277-MCA-ESK Document 6 Filed 06/28/18 Page 1 of 1 PageID: 63




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 BEVERLY HARRIS,

        Plaintiff,                                           Civil Action No. 18-10277

        v.                                                            ORDER

 THE BOZZUTO GROUP, et al.,

        Defendants.


ARLEO, UNITED STATES DISTRICT JUDGE

       THIS MATTER having coming before the Court by way of Plaintiff Beverly Harris’

(“Plaintiff”) request to proceed in forma pauperis under 28 U.S.C. § 1915, ECF No. 4;

       and the Court finding that Plaintiff has adequately alleged indigence or an inability to

prepay court fees;

       IT IS on this 28th day of June, 2018,

       ORDERED that Plaintiff’s application to proceed without prepayment of fees or costs is

GRANTED;

       ORDERED that the Clerk shall file the proposed Amended Complaint attached to

Plaintiff’s renewed application, ECF No. 4-1, without the prepayment of the filing fee;

       ORDERED that the Clerk shall reopen the case; and it is further

       ORDERED that the Clerk shall issue a summons and the U.S. Marshal shall serve a copy

of the complaint, summons, and this order upon Defendant as directed by Plaintiff. All costs of

service shall be advanced by the United States.

                                                    /s Madeline Cox Arleo__________
                                                    Hon. Madeline Cox Arleo
                                                    United States District Judge
